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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA,                  }
              Plaintiff-Respondent         }
                                           }
v.                                         }      CRIMINAL ACTION NO. H-95-142-03
                                           }      CIVIL ACTION NO. H-03-2644
PEDRO MORENO,                              }
              Defendant-Petitioner         }


                              ORDER DISMISSING ACTION

       By separate order issued this day, the Court DENIED Pedro Moreno’s Motion to Vacate, Set

Aside or Correct Sentence pursuant to 28 U.S.C. § 2255. Accordingly, the court ORDERS that

Petitioner Pedro Moreno’s action is DISMISSED.

       SIGNED at Houston, Texas, this 27th day of September, 2006.



                                                  ______________________________________
                                                           MELINDA HARMON
                                                    UNITED STATES DISTRICT JUDGE
